  Case 5:18-cv-00123-JPB Document 1 Filed 07/20/18 Page 1 of 13 PageID #: 1



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                                                                                    Northern District of WV

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   Case 5:18-cv-00123-JPB Document 1 Filed 07/20/18 Page 2 of 13 PageID #: 2




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SDUW\WHOHPDUNHWHUV´In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory




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                             Calls from Defendants Charter and Doe

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                                          Vicarious Liability

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              &KDUWHU NQRZLQJO\DFFHSWHGEXVLQHVVWKDW'HIHQGDQW'RHREWDLQHGWKURXJKLOOHJDO

WHOHPDUNHWLQJFDOOV

              &KDUWHU DOORZVLWVGHDOHUVLQFOXGLQJ'HIHQGDQW'RHWRDFFHVVLWVSURSULHWDU\

LQWHUQDOFRPSXWHUV\VWHPVWRVHOO&KDUWHU VHUYLFHV

              %\DXWKRUL]LQJ'HIHQGDQW'RHWRPDNHFDOOVWRVHOO&KDUWHUVHUYLFHV&KDUWHU

³PDQLIHVW>HG@DVVHQWWRDQRWKHUSHUVRQWKDWWKHDJHQWVKDOODFWRQWKHSULQFLSDO¶VEHKDOIDQG

VXEMHFWWRWKHSULQFLSDO¶VFRQWURO´DVGHVFULEHGLQWKH5HVWDWHPHQW 7KLUG RI$JHQF\



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              $V&KDUWHU VD\VRQLWVZHEVLWH³<RXVXSSO\WKHFXVWRPHUV6SHFWUXP >&KDUWHU¶V

EUDQGQDPHIRULWVVHUYLFHV@ SURYLGHVHYHU\WKLQJ\RXQHHGWRGULYHVDOHV´ See

KWWSVZZZ6SHFWUXPFRPEURZVHFRQWHQWUHWDLOHUSURJUDPGHWDLOVKWPO /DVW9LVLWHG-XO\

 

              &KDUWHU DOORZVLWVDXWKRUL]HGUHWDLOHUVLQFOXGLQJ'RH WRKROGWKHPVHOYHVRXWWR

WKHSXEOLFDV&KDUWHUDQGRU6SHFWUXP

              'HIHQGDQW'RH¶V³&DEOHEXQGOH]´ ZHEVLWHGRHVQ¶WLGHQWLI\WKHFRPSDQ\¶V

FRUSRUDWHLQIRUPDWLRQ,WLGHQWLILHVLWVHOIZLWKWKLVORJR




See KWWSZZZFDEOHEXQGOH]FRP&KDUWHULQWHUQHW /DVW9LVLWHG-XO\ 

              7KHZHEVLWHVWDWHV³6WXFNLQDFRQWUDFW":H OO EX\LWRXWXSWR>FDOO@

´ Id.

              7KDWSURPRWLRQLVRIIHUHGE\&KDUWHU

              &KDUWHU PDLQWDLQHGLQWHULPFRQWURORYHU'RH¶VDFWLRQVZLWKUHVSHFWWRWKHFDOO

              &KDUWHU KDGFRQWURORYHUZKHWKHUDQGXQGHUZKDWFLUFXPVWDQFHVLWZRXOGDFFHSWD

FXVWRPHU JHQHUDWHGWKURXJK'RH¶VHIIRUWV

              &KDUWHU KDGWKHDELOLW\WRSURKLELW'RHIURPXVLQJDQ$7'6WRFRQWDFWSRWHQWLDO

FXVWRPHUVDQGWRUHTXLUHFHUWDLQPHDVXUHVWKDWZRXOGHIIHFWLYHO\SUHYHQW'RHIURPPDNLQJ

LOOHJDOFDOOV

                                      &ODVV$FWLRQ$OOHJDWLRQV

              $VDXWKRUL]HGE\5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH3ODLQWLII VXHV

RQEHKDOIRIRWKHUSHUVRQVRUHQWLWLHVWKURXJKRXWWKH8QLWHG6WDWHV




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             7KHSURSRVHGFODVVHVDUHWHQWDWLYHO\GHILQHGDV

$7'6&/$66

        $OOSHUVRQVZLWKLQWKH8QLWHG6WDWHVWRZKRPZLWKLQWKHIRXU\HDUVSULRUWRWKH
        ILOLQJRIWKLVDFWLRQ'HIHQGDQWV SODFHGDFDOORQKLVRUKHUFHOOXODUWHOHSKRQHOLQH
        XVLQJHTXLSPHQWWKDWKDVWKHFDSDFLW\WRGLDOQXPEHUVDXWRPDWLFDOO\ZLWKRXWKXPDQ
        LQWHUYHQWLRQDWWHPSWLQJWRVHOO&KDUWHU JRRGVRUVHUYLFHVDQGZKHUH'HIHQGDQWV¶
        UHFRUGVGRQRWLQGLFDWHSULRUH[SUHVVFRQVHQWIURPWKHUHFLSLHQW

'1& &/$66

        $OOSHUVRQVZLWKLQWKH8QLWHG6WDWHVZKRVHWHOHSKRQHQXPEHUVZHUHOLVWHGRQWKH'R1RW
        &DOO5HJLVWU\DQGWRZKRPDWDQ\WLPHZLWKLQWKHIRXU\HDUVSULRUWRWKHILOLQJRIWKLV
        DFWLRQPRUHWKDQRQHFDOOZLWKLQDQ\WZHOYHPRQWKSHULRGZDVSODFHGE\RUDWWKH
        GLUHFWLRQRI'HIHQGDQWVFDOOHG WRSURPRWHWKHVDOHRI&KDUWHU SURGXFWVRUVHUYLFHV

             ([FOXGHGIURPWKHFODVVHV DUH WKH'HIHQGDQWVDQ\HQWLWLHVLQZKLFKWKH

'HIHQGDQWVKDYH DFRQWUROOLQJLQWHUHVWWKH'HIHQGDQWV¶ DJHQWVDQGHPSOR\HHVDQ\-XGJHWR

ZKRPWKLVDFWLRQLVDVVLJQHGDQGDQ\PHPEHURIWKH-XGJH¶VVWDIIDQGLPPHGLDWHIDPLO\

             &ODVVPHPEHUVDUHLGHQWLILDEOHWKURXJKSKRQHUHFRUGVDQGSKRQHQXPEHU

GDWDEDVHV WKDWZLOOEHREWDLQHGWKURXJKGLVFRYHU\

             7KHUHDUH PDQ\WKRXVDQGVRIFODVVPHPEHUV,QGLYLGXDOMRLQGHURIWKHVHSHUVRQV

LVLPSUDFWLFDEOH

             3ODLQWLII LVD PHPEHURIWKHFODVVHV

             7KHUHDUHTXHVWLRQVRIODZDQGIDFWFRPPRQWR3ODLQWLII DQGWKHSURSRVHGFODVV

LQFOXGLQJ

                D    :KHWKHUWKH'HIHQGDQWV XVHGDQ$7'6 WRVHQGWHOHPDUNHWLQJFDOOV

                E    :KHWKHUWKH'HIHQGDQWV SODFHGWHOHPDUNHWLQJFDOOVZLWKRXWREWDLQLQJWKH

                      UHFLSLHQWV¶YDOLGSULRUH[SUHVVZULWWHQFRQVHQW

                F    :KHWKHUWKH'HIHQGDQWVSODFHGPRUHWKDQRQHFDOOZLWKLQDPRQWKSHULRG

                      WRQXPEHUVRQWKH'R1RW&DOO5HJLVWU\



                                                  
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                 G    :KHWKHUWKH'HIHQGDQWV¶ 7&3$YLRODWLRQVZHUHQHJOLJHQWZLOOIXORU

                       NQRZLQJ

                 H    :KHWKHUWKH3ODLQWLII DQGWKHFODVVPHPEHUVDUHHQWLWOHGWRVWDWXWRU\

                       GDPDJHVEHFDXVHRIWKH'HIHQGDQWV¶ DFWLRQVDQG

                 I    :KHWKHU&KDUWHULVYLFDULRXVO\OLDEOHIRUFDOOVSODFHGE\'HIHQGDQW'RH

              3ODLQWLII¶V FODLPVDUHEDVHGRQWKHVDPHIDFWVDQGOHJDOWKHRULHV DVFODVVPHPEHUV

DQGWKHUHIRUHDUHW\SLFDORIWKHFODVVPHPEHUV¶FODLPV

              3ODLQWLII LVDQ DGHTXDWHUHSUHVHQWDWLYHRI WKHFODVVHV EHFDXVHKHU LQWHUHVWV GRQRW

FRQIOLFWZLWKWKHFODVVHV¶LQWHUHVW VKH ZLOOIDLUO\DQGDGHTXDWHO\SURWHFWWKHFODVVHV¶LQWHUHVWVDQG

VKHLV UHSUHVHQWHGE\FRXQVHOVNLOOHGDQGH[SHULHQFHGLQOLWLJDWLQJ7&3$FODVVDFWLRQV

              7KH'HIHQGDQWV¶DFWLRQV DUHDSSOLFDEOHWRWKHFODVVHV DQGWR3ODLQWLII

              &RPPRQTXHVWLRQVRIODZDQGIDFWSUHGRPLQDWHRYHUTXHVWLRQVDIIHFWLQJRQO\

LQGLYLGXDOFODVVPHPEHUVDQGDFODVVDFWLRQLVWKHVXSHULRUPHWKRGIRUIDLUDQGHIILFLHQW

DGMXGLFDWLRQRIWKHFRQWURYHUV\7KHRQO\LQGLYLGXDOTXHVWLRQFRQFHUQVLGHQWLILFDWLRQRIFODVV

PHPEHUVZKLFKZLOOEHDVFHUWDLQDEOHIURPUHFRUGVDQGGDWDEDVHVPDLQWDLQHGE\'HIHQGDQWV DQG

RWKHUV

              7KH OLNHOLKRRG WKDW LQGLYLGXDO FODVV PHPEHUV ZLOO SURVHFXWH VHSDUDWH DFWLRQV LV

UHPRWHGXHWRWKHWLPHDQGH[SHQVHQHFHVVDU\WRSURVHFXWHDQLQGLYLGXDOFDVHDQGJLYHQWKHVPDOO

UHFRYHULHVDYDLODEOHWKURXJKLQGLYLGXDODFWLRQV

              3ODLQWLII LV QRW DZDUH RI DQ\ OLWLJDWLRQ FRQFHUQLQJ WKLV FRQWURYHUV\ DOUHDG\

FRPPHQFHGE\RWKHUVZKRPHHWWKHFULWHULDIRUFODVVPHPEHUVKLSGHVFULEHGDERYH




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                                            /HJDO&ODLPV

                                           &RXQW2QH
                               9LRODWLRQRIWKH7&3$¶VSURYLVLRQV
                            SURKLELWLQJ DXWRGLDOHUFDOOVWRFHOOSKRQHV

             7KH'HIHQGDQWVYLRODWHGWKH7&3$E\ D LQLWLDWLQJDWHOHSKRQHFDOOXVLQJDQ

DXWRPDWHGGLDOLQJV\VWHPRUSUHUHFRUGHGYRLFHWR3ODLQWLII¶V WHOHSKRQHQXPEHUDVVLJQHGWRD

FHOOXODUWHOHSKRQHVHUYLFHRU E E\WKHIDFWWKDWRWKHUVFDXVHGWKHLQLWLDWLRQRIWKRVHFDOOVRQLWV

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             7KH'HIHQGDQWV¶ YLRODWLRQVZHUH ZLOOIXORUNQRZLQJ

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             7KH'HIHQGDQWVYLRODWHGWKH7&3$E\ D LQLWLDWLQJPRUHWKDQRQHWHOHSKRQHFDOO

WRWKH3ODLQWLII LQDWZHOYHPRQWKSHULRGZKLOHKHUQXPEHUZDVRQWKH1DWLRQDO'R1RW&DOO

5HJLVWU\RU E E\WKHIDFWWKDWRWKHUVFDXVHGWKHLQLWLDWLRQRIWKRVHFDOOVRQLWVEHKDOISee 

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WHOHPDUNHWLQJWKDWYLRODWHVWKH7&3$




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       *      7KDWVKRXOGWKH&RXUWSHUPLW'HIHQGDQWV WRHQJDJHLQRUUHO\RQWHOHPDUNHWLQJLW

HQWHUDMXGJPHQWUHTXLULQJWKHP WRDGRSWPHDVXUHVWRHQVXUH7&3$FRPSOLDQFHDQGWKDWWKH

&RXUWUHWDLQMXULVGLFWLRQIRUDSHULRGRIVL[PRQWKVWRHQVXUHWKDWWKH'HIHQGDQWV FRPSO\ZLWK

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       +      7KDWWKH&RXUWHQWHUDMXGJPHQWDZDUGLQJDQ\RWKHULQMXQFWLYHUHOLHIQHFHVVDU\WR

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       ,      7KDWWKH&RXUWHQWHUDMXGJPHQWILQGLQJWKDW'HIHQGDQWV DUH MRLQWO\DQGVHYHUDOO\

OLDEOHWR3ODLQWLII DQGDOOFODVVPHPEHUVIRUDOOYLRODWLRQVDULVLQJIURPWKHFDOOV

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       .      7KDWWKH&RXUWHQWHUDMXGJPHQWDZDUGLQJ3ODLQWLII DQGDOOFODVVPHPEHUV

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